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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO.: 4:12CR00230-002 KGB

KENT HALLUM                                                                          DEFENDANT

                AMENDMENT TO JUDGMENT & COMMITMENT ORDER

        The Judgment & Commitment Order entered on June 20, 2013, is hereby amended to remove

the condition that Mr. Hallum abstain from the use of alcohol throughout the term of probation.

        Additionally, the condition for 100 hours of community service will be amended to read:

        Mr. Hallum shall perform 100 hours of community service, as directed by the

        probation officer, prior to the expiration of his term of probation. The location for

        the community service will be determined by the probation officer.

        All other conditions contained in the original Judgment & Commitment Order remain in

full force and effect.

        IT IS SO ORDERED this 3rd day of July, 2013.



                                                      _________________________________
                                                      KRISTINE G. BAKER
                                                      UNITED STATES DISTRICT JUDGE
